
55 So. 3d 721 (2011)
Daniela CONNELLY, as parent and best friend of Kristen Britter, Appellant,
v.
SHANG HAI CHINESE RESTAURANT AND LOUNGE, INC., Chin Lin and Kye Lin, Appellees.
No. 1D10-6312.
District Court of Appeal of Florida, First District.
March 3, 2011.
John Wellington Wesley, Ft. Walton Beach, for Appellant.
Andrew A. Wood of Pleat &amp; Perry, Destin, for Appellees.
PER CURIAM.
DISMISSED. See Hickox v. Taylor, 933 So. 2d 675 (Fla. 1st DCA 2006). The appellant's Motion to Relinquish Jurisdiction to Obtain Final Judgment, filed on January 21, 2011, is denied.
LEWIS, CLARK, and ROWE, JJ., concur.
